                            United States District Court
                          Western District of North Carolina
                                 Asheville Division

 Ricky L. Hefner,                     )              JUDGMENT IN CASE
                                      )
              Petitioner,             )                1:21-cv-00036-MR
                                      )
                    vs.               )
                                      )
 State of North Carolina,             )
                                      )
             Respondent.              )

DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s Order entered on March 15, 2021.

                                               March 15, 2021




          Case 1:21-cv-00036-MR Document 5 Filed 03/15/21 Page 1 of 1
